296 F.2d 738
    Morris JOSEPHv.UNITED STATES of America.
    No. 6669.
    United States Court of Appeals Tenth Circuit.
    November 15, 1961.
    
      Appeal from the United States District Court for the District of Colorado.
      Irving P. Andrews, Denver, Colo., for appellant.
      Lawrence M. Henry, U. S. Atty., and D. L. Giacomini, Asst. U. S. Atty., Denver, Colo., for appellee.
      Before BRATTON, PICKETT and HILL, Circuit Judges.
      PER CURIAM.
    
    
      1
      Appeal dismissed for failure of appellant diligently to prosecute same.
    
    